Case 2:16-cv-02258-JAR-GEB Document5 Filed 06/10/16 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action |

 

UNITED STATES DISTRICT COURT

 

 

 

for the
District of Kansas
Jonah Painter )
)
)
)
Plaintiff(s) )
v. Civil Action No. 2:16-cv-02258-JAR-GEB
University of Kansas
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address, . .
(Def ) University of Kansas

Strong Hall, Room 230
1450 Jayhawk Bivd.
Lawrénce, Kansas 66045-7535

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: .
Aaror: C. McKee

McKee Law, LLC
222 South Cherry Street
Olathe, Kansas 66061

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

 

Date: May 26, 2016

 

Deputy Clerk

  
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for (name of individual and title, if any) Oni { versthe of Kansas
was received by me on (date) (5 [ & ! COth ,

C1 I personally served the sufnmons on the individual at (place)
on (date) ; or

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (ame of individual) , who is

 

designated by law to accept <ervice of process on behalf of (name of organization)

 

on (date) 5 or
OG I returned the summons unexecuted because > or
® Other (specify: Cey-HL ec Mau |
My fees are $ \ for travel and $ * for services, for a total of $ 0.00

I declare under penalty of perjury that this information is trué.

Date: ©] 4 | ZOllo

  

 

Server’s signature

Aaron Mckee

Printed name and title

 

erver's addre a

TEL. &. Cherry. Shae Olathe, Kansas bbdt |

Additional information regarding attempted service, etc:

 
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a Cas items 1, 2, and 3. A oe ? io
# Print your name and address on the reverse ee - Agent
so that we can return the card to you. X a » Oo Addressee
B Attach this card to the back of the mailpiece, B. Received by (Printed Name) C. Date pf Delivery
or on the front if space permits. Vie 3, nia eee ft“, a JS ye SE
|. Article Addressed to: . D. Is delivery address different from item 1? °C] Yés -

: : ~»<If YES, enter delivery address below: [J No
University of Kansas

Strong Hall, Room 230

 

 

 

 

 

1450 Jayhawk Blvd.
Lawrence, Kansas 66045-7535
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O Collect on Delivery
1. Article Number (Transfer from-service label) “| Cl Collect on Delivery Restricted Delivery 2 ee Confirmation”
O Insured Mail oO Signature Confirmation
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2S eam 381 1, April 2015 PSN 7530-02-000-9053 “Domestic Return Receipt
case 2:16-cv-02258-JAR-GEB Document 5 Filed 06/10/16 Page 4 of 4

| First-Class ‘Mail

 

UNITED STATESSPOSTAL: SERVICE

   

Postage & Fees Paid
USPS

Permit No. G-10

 

 

 

 

® Sender: Please print your name, address, and ZIP+4® in this box®

| McKee Law, L.L.C.
| 222 South Cherry Street
| Olathe, Kansas 66061

ADDRESS SERVICE REQUESTED eae eae nearer
USPS TRACKING#

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